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                                           UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF IDAHO


       In re: Pavement Markings Northwest, Inc.              §      Case No. 17-01071
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              David P. Gardner, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $1,370,913.55                           Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $1,710,312.54            Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:     $276,602.44




                3) Total gross receipts of $1,986,914.98 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $1,986,914.98 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $1,816,775.38          $502,261.33        $1,490,474.50         $1,490,474.50
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $146,046.63          $146,046.64          $146,046.64


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00          $130,355.80          $130,555.80          $130,555.80

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                               $24,066.90           $35,216.38           $35,216.38           $35,216.38

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $1,214,478.90        $1,147,554.18        $1,104,971.88          $184,621.66


   TOTAL DISBURSEMENTS                         $3,055,321.18        $1,961,434.32        $2,907,265.20         $1,986,914.98




              4) This case was originally filed under chapter 7 on 08/15/2017, and it was converted to chapter 7 on
      11/20/2017. The case was pending for 39 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        03/10/2021                        By: /s/ David P. Gardner
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                 $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1              RECEIVED

 A/R 90 days old or less. Face amount = $711,809.76. Doubtful/Uncollectible                     1121-000                $469,402.24
 accounts = $0.00.
 2008 Chevy HD2500 Flatbed. Valuation Method: Appraisal                                         1129-000                    $4,757.50

 2010 Kenworth T800 (1993) Custom Designed Blaster Stripper KNKL Boom                           1129-000                   $16,775.00
 Compressor Operated Hydraulic Drive. Valuation Meth
 Checking Acct Account at Wells Fargo Bank (5617 Acct), xxxxxx5617                              1129-000                $330,968.39

 2005 Flatbed Trailer - VIN Ending 5038                                                         1229-000                      $250.00

 A1 Heating & Air Conditioning Prepaid Refund                                                   1229-000                       $76.00

 Attorney Trust Account Funds                                                                   1229-000                   $20,341.34

 Preconversion Steel Recycling Proceeds                                                         1229-000                      $131.50

 Premium Credit for 2017 Bond                                                                   1229-000                      $184.93

 Refund of Bank Fees from Wells Fargo                                                           1229-000                      $306.00

 Refund on IT Services                                                                          1229-000                       $21.72

 Right of Way Bond Refund                                                                       1229-000                       $72.00

 Sherwin Williams Overpayment Refund                                                            1229-000                      $745.67

 Worker's Compensation Premium Refund                                                           1229-000                    $1,731.00

 Workers Compensation Insurance Premium Refund                                                  1229-000                    $1,270.00

 547 Claim - Strategic Operational Solutions, Inc                                               1241-000                   $15,000.00

 Personal Property of Debtor sold to Idaho Lines and Signs per Compromise                       1249-000               $1,124,881.69

                             TOTAL GROSS RECEIPTS                                                                      $1,986,914.98

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                      UNIFORM        CLAIMS
   Claim                                                             CLAIMS        CLAIMS                 CLAIMS
             CLAIMANT                  TRAN.       SCHEDULED
    NO.                                                             ASSERTED      ALLOWED                  PAID
                                       CODE      (from Form 6D)


     1      Bryn Mawr Equip.          4210-000         $7,585.00     $13,260.18          $0.00                $0.00
            Finan. Inc.
     7      Chrysler Capital          4210-000        $40,167.00     $40,305.86          $0.00                $0.00

    10-2    Wells Fargo Bank,         4210-000                NA     $27,220.79          $0.00                $0.00
            N.A., d/b/a Wells Fargo
            Dealer S
     13     Bank of the West          4210-000       $445,717.22          $0.00    $670,127.58       $670,127.58

     14     Bank of the West          4210-000       $195,513.00          $0.00    $163,772.42       $163,772.42

    15S     Bank of the West          4210-000       $396,844.80          $0.00    $235,100.00       $235,100.00

     17     Berkley Insurance         4210-000             $0.00          $0.00          $0.00                $0.00
            Company
     19     Channel Partners          4210-000        $76,177.00     $71,592.81     $71,592.81           $71,592.81
            Funding I, LLC,
            assignee of Channc/o
            Aubrey Law Firm, PC
     22     Idaho Lines & Signs,      4210-000                NA    $349,881.69    $349,881.69       $349,881.69
            LLCc/o Foley Freeman,
            PLLC
    N/F     Bank of the West          4110-000         $9,321.35            NA              NA                  NA

    N/F     Bank of the West          4110-000        $46,402.72            NA              NA                  NA

    N/F     Bank of the West          4110-000       $205,261.00            NA              NA                  NA

    N/F     Bank of the West          4110-000         $4,963.44            NA              NA                  NA

    N/F     Bank of the West Equp     4110-000        $37,961.00            NA              NA                  NA
            Finan
    N/F     Key Bank, NA              4110-000       $173,994.00            NA              NA                  NA

    N/F     Key Bank, NA              4110-000        $52,485.00            NA              NA                  NA

    N/F     Key Equipment             4110-000        $79,196.71            NA              NA                  NA
            Finance
    N/F     KeyBank                   4110-000        $45,186.14            NA              NA                  NA

              TOTAL SECURED                         $1,816,775.38   $502,261.33   $1,490,474.50     $1,490,474.50




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM       CLAIMS          CLAIMS         CLAIMS               CLAIMS
   PAYEE                               TRAN.      SCHEDULED        ASSERTED       ALLOWED                PAID
                                       CODE

 Trustee, Fees - Noah G. Hillen       2100-000                NA     $72,361.00    $72,361.00          $72,361.00

 Trustee, Expenses - Noah G. Hillen   2200-000                NA      $3,033.14     $3,033.15           $3,033.15

 Auctioneer Fees - Corbett Auctions   3610-000                NA      $2,390.00     $2,390.00           $2,390.00
 and Appraisals, In
 Auctioneer Expenses - Corbett        3620-000                NA      $1,403.30     $1,403.30           $1,403.30
 Auctions & Appraisals, Inc.
 Fees, United States Trustee          2950-000                NA      $9,750.00     $9,750.00           $9,750.00

 Banking and Technology Service       2600-000                NA      $6,208.22     $6,208.22           $6,208.22
 Fee - Mechanics Bank
 Banking and Technology Service       2600-000                NA       $825.03        $825.03            $825.03
 Fee - Metropolitan Commercial
 Bank
 Banking and Technology Service       2600-000                NA          $0.00         $0.00               $0.00
 Fee - People’s United Bank
 Attorney for Trustee Fees (Other     3210-000                NA     $43,775.00    $43,775.00          $43,775.00
 Firm) - James Justin May
 Attorney for Trustee Expenses        3220-000                NA       $713.44        $713.44            $713.44
 (Other Firm) - James Justin May
 Accountant for Trustee Fees (Other   3410-000                NA      $5,587.50     $5,587.50           $5,587.50
 Firm) - Roger Clubb
 TOTAL CHAPTER 7 ADMIN. FEES
                                                              NA    $146,046.63   $146,046.64      $146,046.64
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
                                                    CLAIMS          CLAIMS         CLAIMS          CLAIMS
   PAYEE                               TRAN.
                                                  SCHEDULED        ASSERTED       ALLOWED           PAID
                                       CODE

 Prior Chapter Trade Debt - Rocal,    6910-000             NA       $86,026.23     $86,226.23          $86,226.23
 Inc. (ADMINISTRATIVE)
 Prior Chapter Trade Debt - NW        6910-000             NA       $13,906.39     $13,906.39          $13,906.39
 Traffic Control
 Prior Chapter Attorney for           6220-000             NA          $512.18       $512.18             $512.18
 Trustee/DIP Expenses (Other Firm)
 - Matthew T. Christensen
 Prior Chapter Attorney for           6210-000             NA       $29,911.00     $29,911.00          $29,911.00
 Trustee/DIP Fees (Other Firm) -
 Matthew T. Christensen
 TOTAL PRIOR CHAPTER ADMIN.
                                                         $0.00     $130,355.80    $130,555.80      $130,555.80
     FEES AND CHARGES


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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.        CLAIMANT             TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED               PAID
                                       CODE      (from Form 6E)
                                                                        Claim)

    6P-2     Internal Revenue         5800-000               NA          $14,499.55    $14,499.55          $14,499.55
             Service

     20      Nathan Shawn Hatch       5300-000           $610.00            $312.00      $312.00             $312.00


    40P-7    IDAHO STATE TAX          5800-000        $10,012.36         $20,404.83    $20,404.83          $20,404.83
             COMMISSION

     41      Idaho Department of      5800-000         $4,454.54              $0.00         $0.00               $0.00
             Labor

    N/F      Ashlyn Miller-Burgess    5600-000           $250.00                NA            NA                  NA


    N/F      Christina A. Chiaberta   5600-000           $250.00                NA            NA                  NA


    N/F      Christopher M. Henry     5600-000           $608.00                NA            NA                  NA


    N/F      Dallas A. Morlock        5600-000           $730.00                NA            NA                  NA


    N/F      Donna R. McCue           5600-000           $350.00                NA            NA                  NA


    N/F      Grayson Barrutia         5600-000           $520.00                NA            NA                  NA


    N/F      Jack S. Waugh            5600-000           $456.00                NA            NA                  NA


    N/F      Jacob R. Upchurch        5600-000           $365.00                NA            NA                  NA


    N/F      Jason C. Collins         5600-000           $718.00                NA            NA                  NA


    N/F      Jay Q. Heitz             5600-000           $765.00                NA            NA                  NA


    N/F      Jeffery M. Harp          5600-000           $236.00                NA            NA                  NA


    N/F      Kenneth D. Balliet       5600-000           $470.00                NA            NA                  NA


    N/F      Marcus R. Boyer          5600-000           $590.00                NA            NA                  NA


    N/F      Matthew M. Harp          5600-000           $640.00                NA            NA                  NA



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    N/F     Paul A. Barrutia       5600-000        $514.00            NA             NA                  NA


    N/F     Peggy Harp             5600-000        $180.00            NA             NA                  NA


    N/F     Phillip Kerr           5600-000        $250.00            NA             NA                  NA


    N/F     Stephanie J. Henry     5600-000        $658.00            NA             NA                  NA


    N/F     Tamara R. Morlock      5600-000        $440.00            NA             NA                  NA


           TOTAL PRIORITY
          UNSECURED CLAIMS                       $24,066.90    $35,216.38     $35,216.38          $35,216.38




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.         CLAIMANT         TRAN.      SCHEDULED
                                                                (from Proofs of    ALLOWED               PAID
                                    CODE      (from Form 6F)
                                                                     Claim)

     2       H&E EQUIPMENT         7100-000               NA             $778.45      $778.45             $131.49
             SERVICES, INC.

     2       United States         7100-001               NA                 NA            NA                $3.29
             Bankruptcy Court -
             H&E EQUIPMENT
             SERVICES, INC.

     3       Interstate Battery    7100-000         $1,213.99          $1,311.11     $1,311.11            $227.00
             Systems

     4       INTERSTATE BILLING    7100-000               NA           $2,196.69     $2,196.69            $380.31
             SERVICE, INC.

     5       United States         7100-001            $10.39             $14.19       $14.19                $2.46
             Bankruptcy Court -
             Napa Auto Parts

    6U-2     Internal Revenue      7300-000        $29,213.73         $38,011.42    $38,011.42               $0.00
             Service

     8-2     Ally Bank             7100-000        $49,696.00          $8,837.11     $8,837.11           $1,529.97


     9-2     Ally Bank             7100-000        $49,315.00         $20,872.54    $20,872.54           $3,613.67


     11      OLSEN WHEELER         7100-000        $14,547.50         $14,547.50         $0.00               $0.00
             CPA

     12      PINNACLE CAPITAL      7100-000               NA               $0.00         $0.00               $0.00


    15U      Bank of the Westc/o   7100-000               NA               $0.00         $0.00               $0.00
             Kelly Greene
             McConnell Givens
             Pursley LLP

     16      STEVEN NEIGHBORS      7100-000       $216,219.18        $216,441.00   $216,441.00          $37,472.52


     18      Berkley Insurance     7100-000               NA               $0.00         $0.00               $0.00
             Company

    21-3     John Deere            7100-000        $63,944.00         $21,359.46    $21,359.46           $3,697.97
             Construction &
             Forestry Company




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     23     GreatAmerica Financial    7100-000             NA     $18,356.82     $18,356.82           $3,178.12
            Services Corporation
            ATTN: Peggy Upton



     24     FARWEST STEEL             7100-000       $7,908.95     $8,329.14      $8,329.14           $1,442.03
            CORPORATION

     25     Berkley Insurance         7100-000             NA          $0.00          $0.00               $0.00
            Company

    26-2    Berkley Insurance         7100-000             NA     $83,961.64     $83,961.64          $14,536.31
            Company

     27     Jeromy Stamper            7100-000        $330.00      $1,344.00          $0.00               $0.00


     28     Pinnacle Capital          7100-000             NA     $70,573.66     $70,573.66          $12,218.45
            Partners, LLC c/o Brent
            Wilson Hawley Troxell
            Ennis & Hawley, LLP


     30     Brookfield Fabricating    7100-000             NA     $26,690.80          $0.00               $0.00
            Corporation

     31     NLB Corp.                 7100-000       $5,291.09     $5,348.72      $5,348.72            $926.03


     32     Ennis Paint, Inc.         7100-000     $248,807.90   $282,551.60    $282,551.60          $48,918.27


     33     Flint Trading, Inc.       7100-000     $295,895.28   $271,559.08    $271,559.08          $47,015.13


     35     OnSite Service LLC        7100-000             NA      $3,170.70      $3,170.70            $548.94


    36-2    GREG HARP                 7100-000        $424.00     $23,120.00     $23,120.00           $4,002.77


     37     Staker & Parson           7100-000             NA     $27,591.54     $27,591.54           $4,776.93
            Companies

     38     Under Pressure            7200-000             NA       $188.38        $188.38                $0.00
            Systems, LLC David M.
            Friess

     39     A&I Distributors          7200-000             NA       $348.63        $348.63                $0.00


   40U-7    IDAHO STATE TAX           7300-000             NA        $50.00         $50.00                $0.00
            COMMISSION

    42-2    ODR Bkcy                  7200-000             NA          $0.00          $0.00               $0.00


    N/F     Ada County Billing        7100-000         $85.66            NA             NA                  NA
            Services



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    N/F     Allwest Testing & Eng.    7100-000       $1,208.60          NA             NA          NA


    N/F     American Diagnostic       7100-000         $81.25           NA             NA          NA
            Corp.

    N/F     Apply-A-Line, Inc         7100-000       $6,840.00          NA             NA          NA


    N/F     Atlas Sand & Rock,        7100-000      $36,355.40          NA             NA          NA
            Inc.

    N/F     Boise Rigging Supply      7100-000        $106.22           NA             NA          NA


    N/F     Bonneville                7100-000        $698.66           NA             NA          NA
            Management Svc

    N/F     Braun-Jensen, Inc.        7100-000      $10,000.00          NA             NA          NA


    N/F     C T Corporation           7100-000        $897.00           NA             NA          NA
            System

    N/F     CNA Surety                7100-000        $900.00           NA             NA          NA


    N/F     Chase                     7100-000      $33,084.97          NA             NA          NA


    N/F     Construction Partners,    7100-000        $225.50           NA             NA          NA
            Inc.

    N/F     DataPro Solutions, Inc.   7100-000       $1,715.00          NA             NA          NA


    N/F     Diamond St. Recycl.,      7100-000           $6.00          NA             NA          NA
            LLC

    N/F     Edge Constr. Supp.        7100-000        $265.00           NA             NA          NA


    N/F     Harris Rebar Abco, Inc    7100-000       $1,515.01          NA             NA          NA


    N/F     Henderson Wheel &         7100-000         $73.70           NA             NA          NA
            Supply

    N/F     Horton Fluid Power,       7100-000        $299.96           NA             NA          NA
            Inc.

    N/F     House of Wheels           7100-000        $589.07           NA             NA          NA


    N/F     Idaho AGC Benefit         7100-000       $7,069.64          NA             NA          NA
            Trust

    N/F     Idaho State Insurance     7100-000       $7,529.00          NA             NA          NA
            Fund




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    N/F     Idaho Traffic Safety,     7100-000        $424.00           NA             NA          NA
            Inc

    N/F     Interstate Signways       7100-000      $41,385.16          NA             NA          NA


    N/F     Knights of Columbus       7100-000        $565.30           NA             NA          NA


    N/F     McGuire Bearing           7100-000        $249.03           NA             NA          NA
            Company

    N/F     Moreton & Company         7100-000        $150.00           NA             NA          NA


    N/F     Motion & Flow Ctrl        7100-000        $729.08           NA             NA          NA
            Prod Inc

    N/F     NORCO                     7100-000         $34.53           NA             NA          NA


    N/F     O'Connell Pension         7100-000        $310.00           NA             NA          NA
            Consulting

    N/F     O'Reilly Auto Parts       7100-000         $34.97           NA             NA          NA


    N/F     Orion                     7100-000       $1,006.15          NA             NA          NA


    N/F     Paramount Supply, Co.     7100-000        $166.69           NA             NA          NA


    N/F     Paul Idaho Galvanizing    7100-000       $5,003.58          NA             NA          NA


    N/F     Pavement Splty's of ID,   7100-000        $708.43           NA             NA          NA
            Inc

    N/F     PetroCard Systems,        7100-000       $8,117.08          NA             NA          NA
            Inc

    N/F     Republic Services         7100-000         $56.79           NA             NA          NA


    N/F     Rush Int'l Truck          7100-000       $2,196.69          NA             NA          NA
            Centers

    N/F     Staples Business          7100-000        $186.68           NA             NA          NA
            Advantage

    N/F     Staples Credit Plan       7100-000        $129.84           NA             NA          NA


    N/F     Steve Regan Co.           7100-000      $17,611.48          NA             NA          NA


    N/F     Strategic & Operational   7100-000      $13,708.22          NA             NA          NA
            Sol.




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    N/F     Suburban Propane          7100-000         $65.42              NA              NA               NA


    N/F     Suez Water                7100-000       $1,123.54             NA              NA               NA


    N/F     Sunbelt Rentals           7100-000        $189.31              NA              NA               NA


    N/F     Tacoma Screw              7100-000       $1,189.28             NA              NA               NA
            Products, Inc.

    N/F     The Sherwin-Williams      7100-000        $243.96              NA              NA               NA
            Co.

    N/F     Traffic Safety Supp       7100-000       $2,987.97             NA              NA               NA
            Co., Inc

    N/F     TruckPro, LLC             7100-000           $5.46             NA              NA               NA


    N/F     United Rentals NA, Inc.   7100-000       $1,171.28             NA              NA               NA


    N/F     Utility Trlr. Sales of    7100-000        $160.55              NA              NA               NA
            Boise

    N/F     Walters Ready Mix, Inc    7100-000      $11,249.86             NA              NA               NA


    N/F     Zumar Industries Inc.     7100-000      $10,955.92             NA              NA               NA


            TOTAL GENERAL
           UNSECURED CLAIMS                      $1,214,478.90   $1,147,554.18   $1,104,971.88      $184,621.66




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                                                           Asset Cases
Case No.:    17-01071                                                                        Trustee Name:      (320160) David P. Gardner
Case Name:        Pavement Markings Northwest, Inc.                                          Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                             § 341(a) Meeting Date:       12/21/2017
For Period Ending:        03/10/2021                                                         Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                             and Other Costs)

    1       Checking Acct Account at Wells Fargo                     70,287.00                  70,287.00                           330,968.39                          FA
            Bank (5617 Acct), xxxxxx5617

    2       A/R 90 days old or less. Face amount =                  711,809.76               711,809.76                             469,402.24                          FA
            $711,809.76. Doubtful/Uncollectible
            accounts = $0.00.

    3       A/R Over 90 days old. Face amount =                     134,543.64                       0.00                                   0.00                        FA
            $184,543.64. Doubtful/Uncollectible
            accounts = $50,000.00.

    4       Raw Materials: Paint and Thermoplastic                   32,147.15                       0.00                                   0.00                        FA
            inventory (see attached list), 7/31/2017,
            Net Book Value: $0.00, Valuation
            Method: Replacement

    5       Other inventory or supplies: Misc fence                    5,000.00                  5,000.00                                   0.00                        FA
            inventory, 7/31/2017, Net Book Value:
            $0.00, Valuation Method: Replacement

    6       Misc office furniture. Valuation Method:                   5,000.00                  5,000.00                                   0.00                        FA
            Replacement
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

    7       2012 GMC CC3500 Crew Truck.                              35,000.00                  35,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

    8       2011 Chevy 4wd CC FLATBED.                               19,000.00                  19,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

    9       2007 GMC 4wd CC 1T PICKUP.                               15,000.00                  15,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   10       2008 GMC 4wd CC 1T PICKUP.                               16,000.00                  16,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   11       2011 Chevy Silverado Dual. Valuation                     14,000.00                  14,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   12       2008 GMC 4wd 3/4T CC Pickup.                             12,000.00                  12,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                                                             Asset Cases
Case No.:    17-01071                                                                        Trustee Name:      (320160) David P. Gardner
Case Name:         Pavement Markings Northwest, Inc.                                         Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                             § 341(a) Meeting Date:       12/21/2017
For Period Ending:         03/10/2021                                                        Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                             and Other Costs)

   13       2011 Yukon Burgundy. Valuation                           15,000.00                  15,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   14       2008 Chevy HD2500 Flatbed. Valuation                     10,000.00                  10,000.00                              4,757.50                         FA
            Method: Appraisal
            Sold at auction. See Report of Sale, Doc. #204

   15       2016 Dodge RAM 5500 Crew. Valuation                      40,000.00                       0.00                                   0.00                        FA
            Method: Appraisal

   16       2016 Dodge RAM 3500 1 Ton Rover.                         30,000.00                       0.00                                   0.00                        FA
            Valuation Method: Appraisal

   17       2016 Dodge 5500 Crew Cab. Valuation                      40,000.00                       0.00                                   0.00                        FA
            Method: Appraisal

   18       2016 Ford F-150. Valuation Method:                       32,000.00                       0.00                                   0.00                        FA
            Appraisal
            Stipulated relief from stay; Doc #142

   19       2003 Chevy DM Kodiak C4500. Valuation                      2,500.00                      0.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   20       1995 INTL 4900 Bucket TK. Valuation                      18,000.00                  18,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   21       1985 INTL Digger/Derrick. Valuation                      12,000.00                  12,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   22       1986 INTL TK Tractor. Valuation Method:                    3,000.00                  3,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   23       1993 Peterbilt TK Tractor. Valuation                       3,000.00                  3,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   24       1997 INTL Eagle TK Tractor. Valuation                      5,000.00                  5,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   25       2001 Freightliner w/Attenuator. Valuation                25,000.00                  25,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105


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                                                           Asset Cases
Case No.:    17-01071                                                                        Trustee Name:      (320160) David P. Gardner
Case Name:        Pavement Markings Northwest, Inc.                                          Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                             § 341(a) Meeting Date:       12/21/2017
For Period Ending:        03/10/2021                                                         Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                             and Other Costs)

   26       1984 Peterbilt w/Attenuator. Valuation                   20,000.00                  20,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   27       2000 GMC 8500 Digger Derrick.                            15,000.00                   7,415.00         OA                        0.00                        FA
            Valuation Method: Appraisal
            Notice of Proposed Abandonment filed 12/20/17 - Doc
            #126

   28       1979 Fruehauf Tanker Trailer. Valuation                    2,000.00                  2,000.00                                   0.00                        FA
            Method: Appraisal

   29       1973 Fruehauf 40' Step Deck Trailer.                       2,000.00                  2,000.00                                   0.00                        FA
            Valuation Method: Appraisal

   30       2008 Walton Utility Trailer. Valuation                     4,000.00                  4,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   31       1994 Haui Cargo Trailer. Valuation                         1,000.00                  1,000.00                                   0.00                        FA
            Method: Appraisal

   32       1995 Valdez Trailer. Valuation Method:                     1,000.00                  1,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   33       2005 PJTM Utility Trailer. Valuation                       2,000.00                  2,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   34       1984 ID Flatbed Trailer. Valuation                         1,000.00                  1,000.00                                   0.00                        FA
            Method: Appraisal

   35       1993 Dakota Hydraulic Tail Trailer.                      10,000.00                  10,000.00                                   0.00                        FA
            Valuation Method: Appraisal

   36       1952 Kentucky Fifth Wheel Flatbed                          1,000.00                  1,000.00                                   0.00                        FA
            Trailer. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   37       2012 C&B Dump Trailer. Valuation                           6,000.00                  6,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   38       2005 Featherlite Gooseneck Trailer.                        4,000.00                  4,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                                                           Asset Cases
Case No.:    17-01071                                                                          Trustee Name:      (320160) David P. Gardner
Case Name:        Pavement Markings Northwest, Inc.                                            Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                               § 341(a) Meeting Date:       12/21/2017
For Period Ending:        03/10/2021                                                           Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                    Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                               and Other Costs)

   39       1974 Trim Trailer. Valuation Method:                       1,000.00                    1,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   40       1979 Trim 2 Axle Flatbed 24'. Valuation                    5,000.00                    5,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   41       1985 Shopmade Box Trailer. Valuation                           100.00                   100.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   42       2004 Log King Trailer. Valuation Method:                 15,000.00                    15,000.00                                   0.00                        FA
            Appraisal

   43       1973 Timpte Dry Van Trailer. Valuation                         500.00                   500.00                                    0.00                        FA
            Method: Appraisal

   44       1967 Fruehauf Storage Trailer. Valuation                       500.00                   500.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   45       2014 Vac Tron 535 Vacuum Trailer.                        45,000.00                    45,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   46       Slurry TK Sled. Valuation Method:                              100.00                   100.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   47       2015 Toolcat 5600 G Series. Valuation                    20,000.00                    20,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   48       2014 NLB-Starjet Removal System,                        240,000.00                         0.00                                   0.00                        FA
            Attachment, and Vacuum Spin Jet
            Package. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   49       2006 Argosy FL Paint Trucks with Motor                   50,000.00                    50,000.00                                   0.00                        FA
            210cfm Air Compressor. Valuation
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                                                             Asset Cases
Case No.:    17-01071                                                                          Trustee Name:      (320160) David P. Gardner
Case Name:         Pavement Markings Northwest, Inc.                                           Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                               § 341(a) Meeting Date:       12/21/2017
For Period Ending:         03/10/2021                                                          Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                    Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                               and Other Costs)

   50       1998 Devil Child Road Laser. Valuation                     5,000.00                    5,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   51       1994 Kenworth White Stripper Truck.                      15,000.00                    15,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   52       1994 Kenworth Lazy Liner Cart. Valuation                       100.00                   100.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   53       1999 Volvo Paint Stripper Truck.                         40,000.00                         0.00                                   0.00                        FA
            Valuation Method: Appraisal
            Stipulated relief from stay; Doc #142

   54       2011 Speeflo 8900 Hand Stripper.                               500.00                   500.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   55       1993 Speeflo Stripper. Valuation Method:                   1,000.00                    1,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   56       1984 Speeflo Pour Liner 6000. Valuation                        500.00                   500.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   57       2003 Speeflo Power Liner Hand Stripper.                        500.00                   500.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   58       1999 Allmand Brothers Light Tower.                             500.00                   500.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   59       1999 Allmand Brothers Hand Stripper                        8,000.00                    8,000.00                                   0.00                        FA
            Graco 200HP with Bead Tank. Valuation
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   60       1999 Allmand Brothers 3M Tape                              1,000.00                    1,000.00                                   0.00                        FA
            Applicators. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105



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                                                             Asset Cases
Case No.:    17-01071                                                                             Trustee Name:      (320160) David P. Gardner
Case Name:         Pavement Markings Northwest, Inc.                                              Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                                  § 341(a) Meeting Date:       12/21/2017
For Period Ending:         03/10/2021                                                             Claims Bar Date:      01/29/2018

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                           Asset Description                           Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                        Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                  and Other Costs)

   61       2010 Kenworth T800 (1993) Custom                            70,000.00                    70,000.00                              16,775.00                        FA
            Designed Blaster Stripper KNKL Boom
            Compressor Operated Hydraulic Drive.
            Valuation Method: Appraisal
            Incorrectly scheduled as 2010 when it's a 1993
            Kenworth per the title. Sold at auction. See Report of
            Sale, Doc. #204

   62       2015 Big Tex 20' Tilt Equipment Trailer.                      8,000.00                        0.00                                   0.00                        FA
            Valuation Method: Appraisal
            Stipulated relief from stay; Doc #142

   63       2016 Xcel Mirage 20' Equipment Tailor.                        6,000.00                        0.00                                   0.00                        FA
            Valuation Method: Appraisal
            Stipulated relief from stay; Doc #142

   64       1982 Kelco Remote Control. Valuation                          1,000.00                    1,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   65       2000 Retroref Iectometer Delta LTL2000.                       5,000.00                    5,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   66       2011 Ret ro ref I ecto meter Delta                            5,000.00                    5,000.00                                   0.00                        FA
            LTL2000. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   67       Retroreflectometer Delta LTL2000 Flint                            500.00                   500.00                                    0.00                        FA
            Street Heat. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   68       Retroreflectometer Delta LTL2000 Hand                             200.00                   200.00                                    0.00                        FA
            Heat Guns. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   69       Honda Generator EG3500X. Valuation                                100.00                   100.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   70       2011 Stanley Hydraulic Power Unit W50                             500.00                   500.00                                    0.00                        FA
            4P-1. Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   71       1979 ING/Rand Compressor 1100CFM.                             4,000.00                    4,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                                                           Asset Cases
Case No.:    17-01071                                                                          Trustee Name:      (320160) David P. Gardner
Case Name:        Pavement Markings Northwest, Inc.                                            Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                               § 341(a) Meeting Date:       12/21/2017
For Period Ending:        03/10/2021                                                           Claims Bar Date:      01/29/2018

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                           Asset Description                        Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                    Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                               and Other Costs)

   72       Honda Portable Generator ES6500.                               100.00                   100.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   73       Hydraulic Driver. Valuation Method:                            500.00                   500.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   74       POGO Comp. Valuation Method:                                   100.00                   100.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   75       Hydraulic Tool. Valuation Method:                              100.00                   100.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   76       Atlas Copco Drill. Valuation Method:                            50.00                     50.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   77       Coleman Powermate Generator.                                   200.00                   200.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   78       Stihl Hot Saw. Valuation Method:                               200.00                   200.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   79       350P Welder. Valuation Method:                                 300.00                   300.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   80       2003 Sullivan Air Compressor. Valuation                    2,500.00                   2,500.00                                    0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   81       Generator. Valuation Method: Appraisal                         200.00                   200.00                                    0.00                        FA
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   82       Billy Goat (tool). Valuation Method:                           500.00                   500.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                                          Individual Estate Property Record and Report                                                                  Page: 8

                                                           Asset Cases
Case No.:    17-01071                                                                          Trustee Name:      (320160) David P. Gardner
Case Name:        Pavement Markings Northwest, Inc.                                            Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                               § 341(a) Meeting Date:       12/21/2017
For Period Ending:        03/10/2021                                                           Claims Bar Date:      01/29/2018

                                     1                                 2                      3                      4                   5                   6

                           Asset Description                        Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                     Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                    Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                               and Other Costs)

   83       Core Drill. Valuation Method: Appraisal                        500.00                   500.00                                    0.00                        FA
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   84       1975 Mitchell SLRY Diesel. Valuation                     10,000.00                    10,000.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   85       Smith LNX8 Grinder. Valuation Method:                          500.00                   500.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   86       Smith Grinder SPS-10. Valuation Method:                        100.00                   100.00                                    0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   87       1995 Road pro. Valuation Method:                           5,000.00                    5,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   88       2007 Road pro 6068T. Valuation Method:                   50,000.00                    50,000.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   89       Miller Spectrum 300 Cutmate. Valuation                     1,400.00                    1,400.00                                   0.00                        FA
            Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   90       2016 John Deere Mini Excavator.                          50,000.00                         0.00                                   0.00                        FA
            Valuation Method: Appraisal

   91       2005 ASV Posit Tractor Skid Steer.                       15,000.00                    15,000.00                                   0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   92       2008 Polaris ATV. Valuation Method:                        2,500.00                    2,500.00                                   0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   93       1986 Honda Plow 4x4 (parts only).                              100.00                   100.00                                    0.00                        FA
            Valuation Method: Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105




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                   Case 17-01071-JDP                              Doc 287        Filed 04/20/21 Entered 04/20/21 09:04:55                                 Desc
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                                                             Asset Cases
Case No.:    17-01071                                                                             Trustee Name:      (320160) David P. Gardner
Case Name:         Pavement Markings Northwest, Inc.                                              Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                                  § 341(a) Meeting Date:       12/21/2017
For Period Ending:         03/10/2021                                                             Claims Bar Date:      01/29/2018

                                       1                                    2                    3                      4                    5                    6

                           Asset Description                             Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                  and Other Costs)

   94       Concrete Forms. Valuation Method:                               2,000.00                  2,000.00                                     0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   95       2005 Broom 8" Skid Steer Broom.                                 1,000.00                  1,000.00                                     0.00                        FA
            Valuation Method: Appraisal

   96       CATV-80 Forklift. Valuation Method:                             4,000.00                  4,000.00                                     0.00                        FA
            Appraisal
            Sold to Idaho Lines and Signs per
            compromise/settlement and 363(f) motion - Doc #159,
            160 - see asset #105

   97       4850 Henry Street, Boise, ID 83709,                                 0.00                      0.00                                     0.00                        FA
            Lease Interest only

   98       Retention payments owed to Debtor                            142,000.00               142,000.00                                       0.00                        FA
            (amount is estimated)

   99       Attorney Trust Account Funds (u)                                    0.00                 20,341.34                              20,341.34                          FA

   100      Refund on IT Services (u)                                           0.00                     21.72                                    21.72                        FA

   101      Refund of Bank Fees from Wells Fargo                                0.00                   306.00                                    306.00                        FA
            (u)

   102      Premium Credit for 2017 Bond (u)                                    0.00                   184.93                                    184.93                        FA

   103      Worker's Compensation Premium Refund                                0.00                  1,731.00                               1,731.00                          FA
            (u)

   104      Preconversion Steel Recycling Proceeds                              0.00                   135.50                                    131.50                        FA
            (u)
            Preconversion cash held by Debtor from iron recycling
            proceeds, converted to certified funds by Trustee.

   105      Personal Property of Debtor sold to Idaho                           0.00                      0.00                        1,124,881.69                             FA
            Lines and Signs per Compromise (u)
            Personal property of Debtor sold to Idaho Lines and
            Signs per compromise/settlement and 363(f) motion -
            Doc #159, 160

   106      Sherwin Williams Overpayment Refund                                 0.00                   745.67                                    745.67                        FA
            (u)

   107      A1 Heating & Air Conditioning Prepaid                               0.00                     76.00                                    76.00                        FA
            Refund (u)

   108      Apply-A-Line 549 Claim (u)                                      6,840.00                  4,840.00                                     0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.
            Trustee does not recommend pursuing suit. Costs of
            litigation may exceed or approximate recovery.

   109      Atlas Sand & Rock 549 Claim (u)                                 2,883.47                  1,383.47                                     0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.Costs
            of litigation may exceed or approximate recovery.




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                                                             Asset Cases
Case No.:    17-01071                                                                              Trustee Name:      (320160) David P. Gardner
Case Name:         Pavement Markings Northwest, Inc.                                               Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                                                   § 341(a) Meeting Date:       12/21/2017
For Period Ending:         03/10/2021                                                              Claims Bar Date:      01/29/2018

                                        1                                  2                      3                      4                    5                    6

                           Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                         Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                   and Other Costs)

   110      Harris Rebar 549 Claim (u)                                     1,515.01                     515.01                                      0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.
            Trustee will not pursue. Avoidance of payment will
            cause Harris Rebar to make claim on surety bond,
            which estate shall be required to reimburse.

   111      Orion Integration Group 549 Claim (u)                          1,006.15                     256.15                                      0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.
            Costs of litigation may exceed or approximate recovery.

   112      PetroCard 549 Claim (u)                                        6,038.08                    4,038.08                                     0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.
            Costs of litigation may exceed or approximate recovery.

   113      United Rentals 549 Claim (u)                                   1,990.05                    1,190.05                                     0.00                        FA
            Debt accrued prior to 8/15/17 & paid post-petition.
            Costs of litigation may exceed or approximate recovery.

   114      Right of Way Bond Refund (u)                                         0.00                     72.00                                    72.00                        FA

   115      2005 Flatbed Trailer - VIN Ending 5038                             750.00                   450.00                                    250.00                        FA
            (u)
            Sold to Brian Lamore on 2/2/14 for $1,000, but title
            never transferred.

   116      Workers Compensation Insurance                                       0.00                  1,270.00                               1,270.00                          FA
            Premium Refund (u)
            Refund based upon close out audit by Idaho State
            Insurance Fund.

   117      Section 549 Claim - Strategic &                                      0.00                  2,921.00                                     0.00                        FA
            Operational Solutions, Inc (u)
            Adversary No. 19-06053-TLM - Claim 2- Both claims
            settled for payment of $15,000 from SOS, see Doc.
            #257

   118      547 Claim - Strategic Operational                                    0.00                 19,772.70                              15,000.00                          FA
            Solutions, Inc (u)
            Adversary No. 19-06053-TLM - Claim 1 - Both claims
            settled for payment of $15,000 from SOS, see Doc.
            #257


  118       Assets Totals (Excluding unknown values)                  $2,233,760.31             $1,610,212.38                         $1,986,914.98                       $0.00




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                                                     Asset Cases
Case No.:   17-01071                                                        Trustee Name:      (320160) David P. Gardner
Case Name:      Pavement Markings Northwest, Inc.                           Date Filed (f) or Converted (c): 11/20/2017 (c)
                                                                            § 341(a) Meeting Date:    12/21/2017
For Period Ending:     03/10/2021                                           Claims Bar Date:     01/29/2018


 Major Activities Affecting Case Closing:

                           02/10/21 - replied to Ms. Lynch with an update. Waiting on a zero balance to proceed with TDR.
                           02/10/21 - request received for a status update from Ms Lynch - forwarded to TT
                           01/29/21 - Filed unclaimed dividend to the court, mailed check. Proceed with TDR
                           01/26/21 - Cut check to the court, pending TT's signature and drafted Turnover of funds to court/
                           01/20/21 - TT received and email from Peoples United bank with wire transfer information. Upon review of
                           banking, the funds do not appear to be in the correct account. I have an email out to Stretto banking for
                           support.
                           01/12/21 - Email response to Jerad with an update on this case.
                           01/12/21 - Follow up email to banking
                           01/05/21 - request to banking for transfer of funds from the Metropolitan account to our account.
                           12/31/20 - status report filed
                           12/30/20 - Stle check, will need to contact Debbie. Status report pending TT's review. -
                           11/05/20 - email from Jerad (UST) follow up on the outstanding check
                           10/15/20 - Bank statement received from NGH's office reg an outstanding check
                           09/25/20 - Proceed with TDR
                           *** From Trustee Noah Hillen ***
                           6-15-2020 - ROD needed for funds returned regarding Claim 30. Claim satisfied by bonding company during
                           completion of road project.
                           2-18-2020 - Surety has released claim against segregated funds.
                           1-31-2020 - Receiver's Application for Administrative Expenses denied by Bankruptcy Court.
                           8-29-19 - Adversary 19-06053 pending against former receiver.
                           8-8-19 - October hearing set for Steve Neighbor's administrative claim.
                           3-26-19 - Mailed title docs to Brian LaMore.
                           3-6-19 - Remaining project with bond liability to be completed in April 2019.
                           3-5-19 - ITD mailing us Duplicate Title for 2005 trailer in PMN name.
                           10-29-18 - Court vacated balance of hearing on administrative claim. Prepetition receiver was unprepared to
                           prosecute claim. Receiver to provide premarked exhibits to Trustee and then contact Court for a hearing
                           date. Court did not anticipate hearing would take place until January 2019, at least.
                           10-9-18 - Need to resolve pending administrative claim filed by prepetition receiver. November hearing
                           regarding same.
                           9-27-18 - Mailed 549 demand letters to creditors paid during chapter 11 without court authorization.
                           9-5-18 - Mailed 1952 Kenworth truck duplicate title to Keith Lewis.
                           8-13-18 - Owner Greg Harp filed chapter 7 bankruptcy. Case 18-20487
                           6-8-18 - Mailed title docs to ITD.
                           5-18-18 - title transfer mailed to Steve Neighbors.
                           3-16-18 - Sale approved.
                           1-31-18 - Pursue sale of equipment to Idaho Lines of Signs.
                           12-15-17 - Received DIP Account funds from Wells Fargo.


 Initial Projected Date Of Final Report (TFR): 12/31/2019           Current Projected Date Of Final Report (TFR):    05/04/2020 (Actual)




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                                                 Cash Receipts And Disbursements Record
Case No.:              17-01071                                            Trustee Name:                    David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                   Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***8503                                          Account #:                       ******3900 Bond Claim Funds
For Period Ending:     03/10/2021                                          Blanket Bond (per case limit):   $55,683,398.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                      3                                          4                               5                    6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction       Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code        $                       $

 12/14/17     {2}      Debco Construction                 Account receivable with potential    1121-000            14,205.59                                         14,205.59
                                                          surety bond claim
 01/17/18     {2}      DEBCO Construction                 Account Receivable - Subject to      1121-000            17,050.26                                         31,255.85
                                                          potential claim by Berkeley
                                                          Insurance
 01/31/18     {2}      State of Idaho                     Account Receivable - Subject to      1121-000           105,545.44                                     136,801.29
                                                          Bond Claim
 03/16/18     101      Rocal, Inc. (ADMINISTRATIVE)       Payment pursuant to Dkt. No. 170.    6910-000                                 86,226.23                    50,575.06
 06/26/18     102      NW Traffic Control                 Administrative expense approved      6910-000                                 13,906.39                    36,668.67
                                                          per Order #203
 04/17/19              Transfer Debit to Metropolitan     Transition Debit to Metropolitan     9999-000                                 36,668.67                         0.00
                       Commercial Bank acct               Commercial Bank acct
                       XXXXXX8179                         3910028179

                                            COLUMN TOTALS                                                         136,801.29           136,801.29                        $0.00
                                                   Less: Bank Transfers/CDs                                             0.00             36,668.67
                                            Subtotal                                                              136,801.29           100,132.62
                                                   Less: Payments to Debtors                                                                  0.00

                                            NET Receipts / Disbursements                                       $136,801.29            $100,132.62




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                  Cash Receipts And Disbursements Record
Case No.:              17-01071                                              Trustee Name:                       David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                     Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***8503                                            Account #:                          ******3901 Checking
For Period Ending:     03/10/2021                                            Blanket Bond (per case limit):      $55,683,398.00
                                                                             Separate Bond (if applicable):      N/A

    1            2                       3                                            4                                 5                       6                        7

  Trans.    Check or        Paid To / Received From            Description of Transaction          Uniform         Deposit                Disbursement         Account Balance
   Date      Ref. #                                                                               Tran. Code         $                          $

 12/15/17     {2}      Staker Parsons Companies           Account Receivable                       1121-000             21,647.71                                            21,647.71
 12/15/17     {2}      Staker Parson Companies            Account Receivable                       1121-000             20,962.41                                            42,610.12
 12/15/17     {2}      Central Paving, Inc                Account Receivable                       1121-000             68,105.99                                        110,716.11
 12/15/17     {2}      Interstate Billing Service, Inc    Account Receivable Account               1121-000                  203.25                                      110,919.36
                                                          Receivable
 12/15/17     {2}      POE Asphalt Paving, Inc            Account Receivable                       1121-000             14,387.06                                        125,306.42
 12/15/17     {2}      Acme Concrete Paving, Inc          Account Receivable                       1121-000             44,869.19                                        170,175.61
 12/15/17     {2}      Western Construction, Inc          Account Receivable                       1121-000                  224.67                                      170,400.28
 12/15/17     {2}      Western Construction, Inc          Account Receivable                       1121-000             52,401.77                                        222,802.05
 12/15/17     {2}      Western Construction, Inc          Account Receivable                       1121-000             68,687.55                                        291,489.60
 12/15/17     {2}      Cannon Builders, Inc               Account Receivable                       1121-000                 3,455.44                                     294,945.04
 12/15/17     {2}      Gooding Highway District #1        Account Receivable                       1121-000                 3,242.23                                     298,187.27
 12/22/17     {99}     Angstman Johnson                   Attorney Trust Account Funds             1229-000             20,341.34                                        318,528.61
 12/29/17              Mechanics Bank                     Bank and Technology Services             2600-000                                         282.00               318,246.61
                                                          Fees
 01/02/18     {2}      POE Asphalt Paving, Inc            Account Receivable                       1121-000                 5,457.98                                     323,704.59
 01/12/18    {101}     Wells Fargo Bank NA                Refund of bank fees from Wells           1229-000                   50.00                                      323,754.59
                                                          Fargo
 01/12/18    {100}     Orion Integration Group            Refund of overpayment of IT              1229-000                   21.72                                      323,776.31
                                                          Services
 01/12/18    {101}     Wells Fargo Bank NA                Refund of bank fees from Wells           1229-000                   51.00                                      323,827.31
                                                          Fargo
 01/12/18    {101}     Wells Fargo Bank NA                Deposit Reversal: Refund of bank         1229-000                   -50.00                                     323,777.31
                                                          fees from Wells Fargo
 01/31/18              Mechanics Bank                     Bank and Technology Services             2600-000                                         876.07               322,901.24
                                                          Fees
 02/07/18    {102}     CNA Worldwide Operations           Premium Credit for 2017 Bond             1229-000                  184.93                                      323,086.17
 02/14/18     {2}      Geneva Rock Products, Inc          Account Receivable                       1121-000             28,585.60                                        351,671.77
 02/28/18     {2}      Central Paving Inc                 Account receivable (1703                 1121-000                  370.10                                      352,041.87
                                                          Silverstone Est 6 July 17).
 02/28/18              Mechanics Bank                     Bank and Technology Services             2600-000                                         809.18               351,232.69
                                                          Fees
 03/09/18    {103}     IDAHO STATE INSURANCE              Worker's Compensation Premium            1229-000                 1,731.00                                     352,963.69
                       FUND                               Refund
 03/14/18    {104}     Pavement Markings Northwest,       Preconversion Iron recycling             1229-000                  131.50                                      353,095.19
                       Inc                                proceeds Preconversion Iron
                                                          recycling proceeds
 03/14/18              Idaho Lines and Signs              Equipment and Vehicle Sale                                   775,000.00                                      1,128,095.19
                                                          Proceeds Equipment and Vehicle
                                                          Sale Proceeds per settlement (Doc
                                                          #159) and 363(f) sale (Doc #160)
                       Idaho Lines & Signs, LLCc/o        Portion secured by UCC                   4210-002
                       Foley Freeman, PLLC
                                                                                    -$76,000.00
                       Idaho Lines & Signs, LLCc/o        Credit bid in full satisfaction of       4210-002
                       Foley Freeman, PLLC                Claim 22
                                                                                  -$273,881.69
             {105}     Idaho Lines and Signs              Total purchase price, including          1249-000
                                                          credit big from Idaho Lines and
                                                          Signs
                                                                                 $1,124,881.69

                                                                                               Page Subtotals:   $1,130,062.44                $1,967.25


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                        ! - transaction has not been cleared
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                                                Cash Receipts And Disbursements Record
Case No.:              17-01071                                            Trustee Name:                       David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                   Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***8503                                          Account #:                          ******3901 Checking
For Period Ending:     03/10/2021                                          Blanket Bond (per case limit):      $55,683,398.00
                                                                           Separate Bond (if applicable):      N/A

    1            2                      3                                           4                                 5                       6                          7

  Trans.    Check or       Paid To / Received From             Description of Transaction         Uniform        Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                              Tran. Code        $                          $

 03/16/18              From Account #XXXXXX3902            Transfer funds to checking account    9999-000            330,968.39                                        1,459,063.58
                                                           pursuant to approved compromise
                                                           (Dkt. No. 177).
 03/16/18     101      Bank of the West                    Payment pursuant to Dkts. No. 177                                               1,069,000.00                  390,063.58
                                                           and 178.
                       Bank of the West                    Payment pursuant to Dkts. No. 177     4210-000
                                                           and 178.
                                                                                   $670,127.58
                       Bank of the West                    Payment per Doc. #177                 4210-000
                                                                                   $235,100.00
                       Bank of the West                    Payment per Doc. #177                 4210-000
                                                                                   $163,772.42
 03/20/18     102      Channel Partners Funding I, LLC, Payment in full satisfaction of claim    4210-000                                     71,592.81                  318,470.77
                       assignee of Channc/o Aubrey Law per compromise - Order #177
                       Firm, PC
 03/30/18              Mechanics Bank                      Bank and Technology Services          2600-000                                         1,304.32               317,166.45
                                                           Fees
 04/02/18    {101}     N. A. Wells Fargo Bank              Bank fees refund from Wells Fargo     1229-000                   51.00                                        317,217.45
 04/06/18    {101}     Wells Fargo Bank                    Refund off bank fees.                 1229-000                   51.00                                        317,268.45
 04/25/18    {101}     Wells Fargo Bank                    Refund of Wells Fargo Bank Fees       1229-000                   51.00                                        317,319.45
 04/30/18              Mechanics Bank                      Bank and Technology Services          2600-000                                          441.10                316,878.35
                                                           Fees
 05/11/18    {101}     Wells Fargo Bank                    Wells Fargo Deposit Fee Refund        1229-000                   51.00                                        316,929.35
 05/31/18              Mechanics Bank                      Bank and Technology Services          2600-000                                          501.44                316,427.91
                                                           Fees
 06/13/18    {101}     Wells Fargo Bank NA                 Refund of Bank Fee                    1229-000                   51.00                                        316,478.91
 06/20/18              Corbett Auctions & Appraisals,      2008 Chevy and 1993 Kenworth                               17,739.20                                          334,218.11
                       Inc.                                sale proceeds
                       Corbett Auctions and Appraisals,    Auctioneer's Fees                     3610-000
                       In
                                                                                    -$2,390.00
                       Corbett Auctions & Appraisals,      Auctioneer's Expenses                 3620-000
                       Inc.
                                                                                    -$1,403.30
              {14}     Corbett Auctions and Appraisals,    Gross proceeds of 2008 Chevy at       1129-000
                       Inc.                                auction
                                                                                     $4,757.50
              {61}     Corbett Auctions and Appraisals,    Gross proceeds of KW truck at         1129-000
                       Inc.                                auction
                                                                                    $16,775.00
 06/29/18              Mechanics Bank                      Bank and Technology Services          2600-000                                          446.80                333,771.31
                                                           Fees
 07/23/18     103      Roger Clubb                         Order approving accountant fees -     3410-000                                         5,587.50               328,183.81
                                                           Doc #209
 07/24/18    {106}     Shwerin Williams                    Sherwin Williams Overpayment          1229-000                  745.67                                        328,929.48
                                                           Refund
 07/31/18              Mechanics Bank                      Bank and Technology Services          2600-000                                          511.22                328,418.26
                                                           Fees
 08/20/18    {107}     A-1 Heating & Air Conditioning      Prepaid Heating/AC Service            1229-000                 7,600.00                                       336,018.26
                                                           Refund
 08/20/18    {107}     A-1 Heating & Air Conditioning      Prepaid Heating/AC Service            1229-000                   76.00                                        336,094.26
                                                           Refund

                                                                                             Page Subtotals:    $357,384.26             $1,149,385.19


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                       ! - transaction has not been cleared
                     Case 17-01071-JDP                   Doc 287          Filed 04/20/21 Entered 04/20/21 09:04:55                                     Desc
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                                                 Cash Receipts And Disbursements Record
Case No.:              17-01071                                            Trustee Name:                      David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                   Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***8503                                          Account #:                         ******3901 Checking
For Period Ending:     03/10/2021                                          Blanket Bond (per case limit):     $55,683,398.00
                                                                           Separate Bond (if applicable):     N/A

    1            2                      3                                          4                                5                     6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction          Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                              Tran. Code       $                       $

 08/31/18              Mechanics Bank                     Bank and Technology Services           2600-000                                     488.16               335,606.10
                                                          Fees
 09/10/18    {107}     A-1 Heating & Air Conditioning     Deposit Reversal: Prepaid              1229-000            -7,600.00                                     328,006.10
                                                          Heating/AC Service Refund
 09/28/18              Mechanics Bank                     Bank and Technology Services           2600-000                                     251.61               327,754.49
                                                          Fees
 10/31/18              Mechanics Bank                     Bank and Technology Services           2600-000                                     296.32               327,458.17
                                                          Fees
 11/27/18     104      Matthew T. Christensen             Order approving compensation,                                                   30,423.18                297,034.99
                                                          Doc. No. 189
                       Matthew T. Christensen             Chapter 11 Attorney for DIP fees       6210-000
                                                                                  $29,911.00
                       Matthew T. Christensen             Chapter 11 Attorney for DIP            6220-000
                                                          expenses
                                                                                       $512.18
 12/17/18    {114}     Morton & Company                   Right of Way Bond Refund               1229-000                72.00                                     297,106.99
 02/28/19    {115}     Northwest Landscape                Asset 115 - Trailer Sale Proceeds      1229-000               250.00                                     297,356.99
 04/17/19              Transfer Debit to Metropolitan     Transition Debit to Metropolitan       9999-000                                297,356.99                      0.00
                       Commercial Bank acct               Commercial Bank acct
                       XXXXXX8047                         3910028047

                                            COLUMN TOTALS                                                       1,480,168.70            1,480,168.70                    $0.00
                                                   Less: Bank Transfers/CDs                                         330,968.39           297,356.99
                                            Subtotal                                                            1,149,200.31            1,182,811.71
                                                   Less: Payments to Debtors                                                                    0.00

                                            NET Receipts / Disbursements                                       $1,149,200.31           $1,182,811.71




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
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                                               Cash Receipts And Disbursements Record
Case No.:              17-01071                                         Trustee Name:                     David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***8503                                       Account #:                        ******3902 DIP Account Funds
For Period Ending:     03/10/2021                                       Blanket Bond (per case limit):    $55,683,398.00
                                                                        Separate Bond (if applicable):    N/A

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  Trans.    Check or       Paid To / Received From          Description of Transaction        Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                          Tran. Code       $                       $

 12/15/17     {1}      Wells Fargo Bank Bankruptcy      Ch. 11 DIP Account Funds             1129-000           330,968.39                                     330,968.39
                       Dept
 03/16/18              To Account #XXXXXX3901           Transfer funds to checking account   9999-000                                330,968.39                      0.00
                                                        pursuant to approved compromise
                                                        (Dkt. No. 177).

                                          COLUMN TOTALS                                                         330,968.39           330,968.39                     $0.00
                                                 Less: Bank Transfers/CDs                                             0.00           330,968.39
                                          Subtotal                                                              330,968.39                  0.00
                                                 Less: Payments to Debtors                                                                  0.00

                                          NET Receipts / Disbursements                                       $330,968.39                   $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                     Case 17-01071-JDP                   Doc 287          Filed 04/20/21 Entered 04/20/21 09:04:55                                            Desc
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                                               Cash Receipts And Disbursements Record
Case No.:              17-01071                                            Trustee Name:                        David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                   Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***8503                                          Account #:                           ******8047 Checking Account
For Period Ending:     03/10/2021                                          Blanket Bond (per case limit):       $55,683,398.00
                                                                           Separate Bond (if applicable):       N/A

    1            2                       3                                         4                                   5                       6                          7

  Trans.    Check or       Paid To / Received From            Description of Transaction           Uniform        Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                               Tran. Code        $                          $

 04/17/19              Transfer Credit from Rabobank,     Transition Credit from Rabobank,        9999-000            297,356.99                                          297,356.99
                       N.A. acct XXXXXX3901               N.A. acct 5020893901
 06/25/19    {116}     Idaho State Insurance Fund         Worker's Compensation Insurance         1229-000                 1,270.00                                       298,626.99
                                                          Premium Refund
 02/18/20              To Account #XXXXXX8047             Transfer to unencumbered                9999-000             36,668.67                                          335,295.66
                                                          account. Surety has released claim
                                                          as to segregated funds.
 03/31/20              Metropolitan Commercial Bank       Bank and Technology Services            2600-000                                          267.96                335,027.70
                                                          Fees
 04/03/20    {118}     Strategic Operational Solutions    Neighbors Compromise Funds              1241-000             15,000.00                                          350,027.70
 04/29/20    1000      James Justin May                   Attorney for Trustee fees and                                                        44,488.14                  305,539.56
                                                          expenses per Order, Doc #266
                       James Justin May                   Attorney for Trustee fees               3210-000
                                                                                  $43,775.00
                       James Justin May                   Attorney for Trustee expenses           3220-000
                                                                                       $713.14
 04/30/20              Metropolitan Commercial Bank       Bank and Technology Services            2600-000                                          557.07                304,982.49
                                                          Fees
 06/12/20    1001      James Justin May                   17-01071 PAVEMENT MARKINGS              3220-000                                           ! 0.30               304,982.19
                                                          NORTHWEST, INC. Claim No.
                                                          ATTYEXP 0.04% $0.30
 06/12/20    1002      Noah G. Hillen                     Combined trustee compensation &                                                      75,394.15                  229,588.04
                                                          expense dividend payments.
                       Noah G. Hillen                     Claims Distribution - Tue, 05-12-       2100-000
                                                          2020
                                                                                  $72,361.00
                       Noah G. Hillen                     Claims Distribution - Tue, 05-12-       2200-000
                                                          2020
                                                                                      $3,033.15
 06/12/20    1003      United States Trustee              17-01071 PAVEMENT MARKINGS              2950-000                                         9,750.00               219,838.04
                                                          NORTHWEST, INC. Claim No. 29
                                                          100.00% $9,750.00
 06/12/20    1004      Nathan Shawn Hatch                 17-01071 PAVEMENT MARKINGS              5300-000                                         ! 312.00               219,526.04
                                                          NORTHWEST, INC. Claim No. 20
                                                          100.00% $312.00
 06/12/20    1005      Internal Revenue Service           17-01071 PAVEMENT MARKINGS              5800-000                                     14,499.55                  205,026.49
                                                          NORTHWEST, INC. Claim No. 6P-
                                                          2 100.00% $14,499.55
 06/12/20    1006      IDAHO STATE TAX                    17-01071 PAVEMENT MARKINGS              5800-000                                     20,404.83                  184,621.66
                       COMMISSION                         NORTHWEST, INC. Claim No.
                                                          40P-7 100.00% $20,404.83
 06/12/20    1007      H&E EQUIPMENT SERVICES,            17-01071 PAVEMENT MARKINGS              7100-000                                          131.49                184,490.17
                       INC.                               NORTHWEST, INC. Claim No. 2
                                                          16.89% $131.49
 06/12/20    1008      Interstate Battery Systems         17-01071 PAVEMENT MARKINGS              7100-000                                          221.45                184,268.72
                                                          NORTHWEST, INC. Claim No. 3
                                                          16.89% $221.45
 06/12/20    1009      INTERSTATE BILLING SERVICE, 17-01071 PAVEMENT MARKINGS                     7100-000                                          371.03                183,897.69
                       INC.                        NORTHWEST, INC. Claim No. 4
                                                   16.89% $371.03
 06/12/20    1010      Napa Auto Parts                    Combined small dividends.               7100-001                                             2.40               183,895.29
 06/12/20    1011      Ally Bank                          17-01071 PAVEMENT MARKINGS              7100-000                                         1,492.61               182,402.68
                                                          NORTHWEST, INC. Claim No. 8-2
                                                          16.89% $1,492.61


                                                                                              Page Subtotals:    $350,295.66               $167,892.98


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                        ! - transaction has not been cleared
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                                               Cash Receipts And Disbursements Record
Case No.:              17-01071                                               Trustee Name:                        David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                      Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***8503                                             Account #:                           ******8047 Checking Account
For Period Ending:     03/10/2021                                             Blanket Bond (per case limit):       $55,683,398.00
                                                                              Separate Bond (if applicable):       N/A

    1            2                         3                                           4                                 5                    6                          7

  Trans.    Check or        Paid To / Received From              Description of Transaction          Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                                 Tran. Code         $                      $

 06/12/20    1012      Ally Bank                             17-01071 PAVEMENT MARKINGS              7100-000                                     3,525.43               178,877.25
                                                             NORTHWEST, INC. Claim No. 9-2
                                                             16.89% $3,525.43
 06/12/20    1013      STEVEN NEIGHBORS                      17-01071 PAVEMENT MARKINGS              7100-000                                 36,557.50                  142,319.75
                                                             NORTHWEST, INC. Claim No. 16
                                                             16.89% $36,557.50
 06/12/20    1014      John Deere Construction &             17-01071 PAVEMENT MARKINGS              7100-000                                     3,607.67               138,712.08
                       Forestry Company                      NORTHWEST, INC. Claim No. 21-
                                                             3 16.89% $3,607.67
 06/12/20    1015      GreatAmerica Financial Services       17-01071 PAVEMENT MARKINGS              7100-000                                     3,100.52               135,611.56
                       Corporation ATTN: Peggy Upton         NORTHWEST, INC. Claim No. 23
                                                             16.89% $3,100.52
 06/12/20    1016      FARWEST STEEL                         17-01071 PAVEMENT MARKINGS              7100-000                                     1,406.82               134,204.74
                       CORPORATION                           NORTHWEST, INC. Claim No. 24
                                                             16.89% $1,406.82
 06/12/20    1017      Berkley Insurance Company             17-01071 PAVEMENT MARKINGS              7100-000                                 14,181.36                  120,023.38
                                                             NORTHWEST, INC. Claim No. 26-
                                                             2 16.89% $14,181.36
 06/12/20    1018      Pinnacle Capital Partners, LLC c/o 17-01071 PAVEMENT MARKINGS                 7100-000                                 11,920.09                  108,103.29
                       Brent Wilson Hawley Troxell Ennis NORTHWEST, INC. Claim No. 28
                       & Hawley, LLP                      16.89% $11,920.09
 06/12/20    1019      Brookfield Fabricating Corporation    17-01071 PAVEMENT MARKINGS              7100-004                                     4,508.15               103,595.14
                                                             NORTHWEST, INC. Claim No. 30
                                                             16.89% $4,508.15
                                                             Voided on 06/15/2020
 06/12/20    1020      NLB Corp.                             17-01071 PAVEMENT MARKINGS              7100-000                                      903.41                102,691.73
                                                             NORTHWEST, INC. Claim No. 31
                                                             16.89% $903.41
 06/12/20    1021      Ennis Paint, Inc.                     17-01071 PAVEMENT MARKINGS              7100-000                                 47,723.77                      54,967.96
                                                             NORTHWEST, INC. Claim No. 32
                                                             16.89% $47,723.77
 06/12/20    1022      Flint Trading, Inc.                   17-01071 PAVEMENT MARKINGS              7100-000                                 45,867.10                       9,100.86
                                                             NORTHWEST, INC. Claim No. 33
                                                             16.89% $45,867.10
 06/12/20    1023      OnSite Service LLC                    17-01071 PAVEMENT MARKINGS              7100-000                                      535.54                     8,565.32
                                                             NORTHWEST, INC. Claim No. 35
                                                             16.89% $535.54
 06/12/20    1024      GREG HARP                             17-01071 PAVEMENT MARKINGS              7100-000                                     3,905.03                    4,660.29
                                                             NORTHWEST, INC. Claim No. 36-
                                                             2 16.89% $3,905.03
 06/12/20    1025      Staker & Parson Companies             17-01071 PAVEMENT MARKINGS              7100-005                                     4,660.29                        0.00
                                                             NORTHWEST, INC. Claim No. 37
                                                             16.89% $4,660.29
                                                             Stopped on 08/13/2020
 06/15/20    1019      Brookfield Fabricating Corporation    17-01071 PAVEMENT MARKINGS              7100-004                                 -4,508.15                       4,508.15
                                                             NORTHWEST, INC. Claim No. 30
                                                             16.89% $4,508.15
                                                             Voided: check issued on
                                                             06/12/2020
 06/22/20    1026      Interstate Battery Systems            17-01071 PAVEMENT MARKINGS              7100-000                                         5.55                    4,502.60
                                                             NORTHWEST, INC. Claim No. 3
                                                             0.42% $5.55
 06/22/20    1027      INTERSTATE BILLING SERVICE, 17-01071 PAVEMENT MARKINGS                        7100-000                                         9.28                    4,493.32
                       INC.                        NORTHWEST, INC. Claim No. 4
                                                   0.42% $9.28
 06/22/20    1028      United States Bankruptcy Court        Combined small dividends.                                                                3.35                    4,489.97
                       Napa Auto Parts                       Claims Distribution - Fri, 06-19-       7100-001
                                                             2020
                                                                                            $0.06


                                                                                                 Page Subtotals:             $0.00        $177,912.71


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                      ! - transaction has not been cleared
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                                                    Cash Receipts And Disbursements Record
Case No.:              17-01071                                               Trustee Name:                      David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                      Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***8503                                             Account #:                         ******8047 Checking Account
For Period Ending:     03/10/2021                                             Blanket Bond (per case limit):     $55,683,398.00
                                                                              Separate Bond (if applicable):     N/A

    1            2                         3                                           4                               5                     6                          7

  Trans.    Check or        Paid To / Received From              Description of Transaction          Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                 Tran. Code       $                       $

                       H&E EQUIPMENT SERVICES,               Claims Distribution - Fri, 06-19-      7100-001
                       INC.                                  2020
                                                                                            $3.29
 06/22/20    1029      Ally Bank                             17-01071 PAVEMENT MARKINGS             7100-000                                       37.36                    4,452.61
                                                             NORTHWEST, INC. Claim No. 8-2
                                                             0.42% $37.36
 06/22/20    1030      Ally Bank                             17-01071 PAVEMENT MARKINGS             7100-000                                       88.24                    4,364.37
                                                             NORTHWEST, INC. Claim No. 9-2
                                                             0.42% $88.24
 06/22/20    1031      STEVEN NEIGHBORS                      17-01071 PAVEMENT MARKINGS             7100-000                                      915.02                    3,449.35
                                                             NORTHWEST, INC. Claim No. 16
                                                             0.42% $915.02
 06/22/20    1032      John Deere Construction &             17-01071 PAVEMENT MARKINGS             7100-000                                       90.30                    3,359.05
                       Forestry Company                      NORTHWEST, INC. Claim No. 21-
                                                             3 0.42% $90.30
 06/22/20    1033      GreatAmerica Financial Services       17-01071 PAVEMENT MARKINGS             7100-000                                       77.60                    3,281.45
                       Corporation ATTN: Peggy Upton         NORTHWEST, INC. Claim No. 23
                                                             0.42% $77.60
 06/22/20    1034      FARWEST STEEL                         17-01071 PAVEMENT MARKINGS             7100-000                                       35.21                    3,246.24
                       CORPORATION                           NORTHWEST, INC. Claim No. 24
                                                             0.42% $35.21
 06/22/20    1035      Berkley Insurance Company             17-01071 PAVEMENT MARKINGS             7100-000                                      354.95                    2,891.29
                                                             NORTHWEST, INC. Claim No. 26-
                                                             2 0.42% $354.95
 06/22/20    1036      Pinnacle Capital Partners, LLC c/o 17-01071 PAVEMENT MARKINGS                7100-000                                      298.36                    2,592.93
                       Brent Wilson Hawley Troxell Ennis NORTHWEST, INC. Claim No. 28
                       & Hawley, LLP                      0.42% $298.36
 06/22/20    1037      NLB Corp.                             17-01071 PAVEMENT MARKINGS             7100-000                                       22.62                    2,570.31
                                                             NORTHWEST, INC. Claim No. 31
                                                             0.42% $22.62
 06/22/20    1038      Ennis Paint, Inc.                     17-01071 PAVEMENT MARKINGS             7100-000                                     1,194.50                   1,375.81
                                                             NORTHWEST, INC. Claim No. 32
                                                             0.42% $1,194.50
 06/22/20    1039      Flint Trading, Inc.                   17-01071 PAVEMENT MARKINGS             7100-000                                     1,148.03                    227.78
                                                             NORTHWEST, INC. Claim No. 33
                                                             0.42% $1,148.03
 06/22/20    1040      OnSite Service LLC                    17-01071 PAVEMENT MARKINGS             7100-000                                       13.40                     214.38
                                                             NORTHWEST, INC. Claim No. 35
                                                             0.42% $13.40
 06/22/20    1041      GREG HARP                             17-01071 PAVEMENT MARKINGS             7100-000                                       97.74                     116.64
                                                             NORTHWEST, INC. Claim No. 36-
                                                             2 0.42% $97.74
 06/22/20    1042      Staker & Parson Companies             17-01071 PAVEMENT MARKINGS             7100-000                                      116.64                        0.00
                                                             NORTHWEST, INC. Claim No. 37
                                                             0.42% $116.64
 08/13/20    1025      Staker & Parson Companies             17-01071 PAVEMENT MARKINGS             7100-005                                 -4,660.29                      4,660.29
                                                             NORTHWEST, INC. Claim No. 37
                                                             16.89% $4,660.29
                                                             Stopped: check issued on
                                                             06/12/2020
 08/14/20    1043      Staker & Parson Companies             17-01071 PAVEMENT MARKINGS             7100-000                                 ! 4,660.29                         0.00
                                                             NORTHWEST, INC. Claim No. 37
                                                             16.89% $4,660.29

                                               COLUMN TOTALS                                                           350,295.66           350,295.66                         $0.00
                                                      Less: Bank Transfers/CDs                                         334,025.66                    0.00
                                               Subtotal                                                                 16,270.00           350,295.66
                                                      Less: Payments to Debtors                                                                      0.00

                                               NET Receipts / Disbursements                                            $16,270.00          $350,295.66



{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
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                                               Cash Receipts And Disbursements Record
Case No.:              17-01071                                          Trustee Name:                     David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                 Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:         **-***8503                                        Account #:                        ******8179 Bond Claim Funds
For Period Ending:     03/10/2021                                        Blanket Bond (per case limit):    $55,683,398.00
                                                                         Separate Bond (if applicable):    N/A

    1            2                    3                                          4                               5                      6                        7

  Trans.    Check or       Paid To / Received From           Description of Transaction        Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code       $                        $

 04/17/19              Transfer Credit from Rabobank,    Transition Credit from Rabobank,     9999-000           36,668.67                                           36,668.67
                       N.A. acct XXXXXX3900              N.A. acct 5020893900
 02/18/20              To Account #XXXXXX8047            Transfer to unencumbered             9999-000                                  36,668.67                         0.00
                                                         account. Surety has released claim
                                                         as to segregated funds.

                                          COLUMN TOTALS                                                          36,668.67               36,668.67                       $0.00
                                                 Less: Bank Transfers/CDs                                        36,668.67               36,668.67
                                          Subtotal                                                                      0.00                  0.00
                                                 Less: Payments to Debtors                                                                    0.00

                                          NET Receipts / Disbursements                                                 $0.00                 $0.00




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                 Cash Receipts And Disbursements Record
Case No.:              17-01071                                            Trustee Name:                    David P. Gardner (320160)
Case Name:             Pavement Markings Northwest, Inc.                   Bank Name:                       People’s United Bank
Taxpayer ID #:         **-***8503                                          Account #:                       ******9494 Checking
For Period Ending:     03/10/2021                                          Blanket Bond (per case limit):   $55,683,398.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                      3                                          4                              5                       6                          7

  Trans.    Check or       Paid To / Received From             Description of Transaction      Uniform        Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code        $                         $

 01/20/21              Successor Transfer Credit           Successor Transfer Credit from      9999-000               4,972.59                                           4,972.59
                                                           Noah Hillen
 01/26/21              U. S. Bankruptcy Court, Dist. of    Unclaimed dividends to Court        9999-000                                       4,972.59                       0.00
                       Idaho
 01/29/21              People’s United Bank                Bank and Technology Services        2600-000                                           5.00                      -5.00
                                                           Fees
 02/08/21              People’s United Bank                Bank and Technology Services        2600-000                                          -5.00                       0.00
                                                           Fees

                                            COLUMN TOTALS                                                             4,972.59                4,972.59                      $0.00
                                                   Less: Bank Transfers/CDs                                           4,972.59                4,972.59
                                            Subtotal                                                                      0.00                    0.00
                                                   Less: Payments to Debtors                                                                      0.00

                                            NET Receipts / Disbursements                                                 $0.00                   $0.00




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                 Case 17-01071-JDP                 Doc 287      Filed 04/20/21 Entered 04/20/21 09:04:55                           Desc
                                                                  Page 34 of 34
                                                       Form 2                                                                      Exhibit 9
                                                                                                                                   Page: 11
                                       Cash Receipts And Disbursements Record
Case No.:           17-01071                                     Trustee Name:                    David P. Gardner (320160)
Case Name:          Pavement Markings Northwest, Inc.            Bank Name:                       People’s United Bank
Taxpayer ID #:      **-***8503                                   Account #:                       ******9494 Checking
For Period Ending: 03/10/2021                                    Blanket Bond (per case limit): $55,683,398.00
                                                                 Separate Bond (if applicable): N/A

                                       Net Receipts:            $1,633,239.99
                           Plus Gross Adjustments:               $353,674.99
                         Less Payments to Debtor:                       $0.00
                 Less Other Noncompensable Items:                $349,881.69

                                         Net Estate:            $1,637,033.29




                                                                                                    NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                         NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******3900 Bond Claim Funds                       $136,801.29        $100,132.62                     $0.00

                                 ******3901 Checking                              $1,149,200.31            $1,182,811.71               $0.00

                                 ******3902 DIP Account Funds                      $330,968.39                     $0.00               $0.00

                                 ******8047 Checking Account                        $16,270.00              $350,295.66                $0.00

                                 ******8179 Bond Claim Funds                             $0.00                     $0.00               $0.00

                                 ******9494 Checking                                     $0.00                     $0.00               $0.00

                                                                                 $1,633,239.99            $1,633,239.99                $0.00




UST Form 101-7-TDR (10 /1/2010)
